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 8                           UNITED STATES DISTRICT COURT

 9                         EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,              ) 2:15-MJ-00207-AC
                                            ) 2:15-CR-00218-AC
12              Plaintiff,                  )
                                            ) [Proposed] ORDER TO CONTINUE
13         v.                               ) STATUS HEARING AND VACATE COURT
                                            ) TRIAL
14   WILLIAM LOUIS FILTER,                  )
     BRIAN JOHNSON,                         ) DATE: January 11, 2016
15   CODY BOYD PITMAN, and                  ) TIME: 9:00 a.m.
     SCOTT PITMAN,                          ) JUDGE: Hon. Allison Claire
16                                          )
                Defendants.                 )
17                                          )
18                                       ORDER

19         It is hereby ordered that the status hearing presently set for
20   January 11, 2016 at 9:00 a.m. be continued to January 25, 2016 at
21   9:00 a.m. and the court trial presently set for January 25, 2016 at
22   9:00 a.m. be vacated.    The time from January 11, 2016 to January 25,
23   2016 shall be excluded from the calculation of time under the Speedy
24   Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv) and Local
25   Code T4.   The Court finds that the
26   ///
27   ///
28   ///
           Case 2:15-mj-00207-AC Document 18 Filed 12/22/15 Page 2 of 2


 1   ends of justice served by a continuance as requested outweigh the

 2   best interest of the public and the defendant in a trial within the

 3   original date prescribed by the Speedy Trial Act.

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 5   DATED: December 22, 2015

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